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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           PATRICK PEARSON,                              :
                                                         :
                        Plaintiff,                       :         CIVIL ACTION FILE NO.
                                                         :         1:11-CV-04309-AT-AJB
                 v.                                      :
                                                         :
           M&S AUTO PARTS OF                             :
           FAYETTEVILLE, INC. AND                        :
           MICHAEL BELL                                  :
                                                         :
                        Defendant.                       :

                          ORDER ADMINISTRATIVELY CLOSING CASE

                 The Court has been advised by the magistrate judge that the above-styled action

           has been settled, but the formal documentation of settlement has not been concluded.

           Therefore, it is not necessary that the action remain on the Court’s calendar.

                 IT IS HEREBY ORDERED that the action is DISMISSED WITHOUT

           PREJUDICE to the right of any party, anytime within the next sixty (60) days, to

           reopen this action or vacate this order of dismissal.

                 It is further ORDERED that the Court retains jurisdiction to vacate this order of

           dismissal and to reopen the action, if necessary. If the action has not been reopened or

           the Court has not received a motion to vacate on or before the time permitted by this

           Order, the action will be dismissed with prejudice.


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            Let a copy of this order be served upon counsel for the parties.

            IT IS SO ORDERED, this the 31st day of October, 2013.



                                            ____________________________________
                                            AMY TOTENBERG
                                            UNITED STATES DISTRICT JUDGE




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(Rev.8/8
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